                                         Case 19-24488                    Doc 5      Filed 10/30/19               Page 1 of 2


              Fill in this information to identify your case:

 Debtor 1                 Jimmy Lee Perry
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Freddie Lee Perry
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND, GREENBELT DIVISION

 Case number
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Carrington Mortgage                                  Surrender the property.                                  No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation        Yes
    Description of       9700 Avis Ct, Largo, MD                              Agreement.
    property             20774-2281                                        Retain the property and [explain]:
    securing debt:                                                          maintain payments


    Creditor's         TD Auto Finance                                      Surrender the property.                                  No
    name:                                                                   Retain the property and redeem it.
    Description of
                                                                           Retain the property and enter into a Reaffirmation         Yes
                         2019 Jeep Compass                                   Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                 Will the lease be assumed?



Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                              page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
                                         Case 19-24488               Doc 5       Filed 10/30/19           Page 2 of 2


 Debtor 1
 Debtor 2      Perry, Jimmy Lee & Perry, Freddie Lee                                                Case number (if known)


 Lessor's name:              Sprint                                                                                           No
                                                                                                                                Yes

 Description of leased       cell phone contract
 Property:

 Lessor's name:              Sunrun Brightsave                                                                                  No

                                                                                                                              Yes
 Description of leased       Solar Energy Agreement
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jimmy Lee Perry                                                        X /s/ Freddie Lee Perry
       Jimmy Lee Perry                                                                Freddie Lee Perry
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        October 30, 2019                                               Date     October 30, 2019




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
